          Case 1:21-cr-00670-CJN Document 22 Filed 12/16/21 Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

               DEFENDANT’S POSITION ON PRE-TRIAL SCHEDULING

       Defendant Stephen K. Bannon, by and through his undersigned counsel, respectfully

submits the following:

       The Parties have conferred with each other regarding scheduling. The Defendant now files

his position on scheduling, pursuant to the Court’s directive on December 7, 2021, that the parties

should apprise the Court of their respective positions on scheduling by December 16, 2021 (Tr.

12/7/2021 at 42).

       The Parties reached agreement on some but not all deadlines. We believe that there are two

primary areas of disagreement on scheduling. The Defendant’s position on these issues is reflected

in the Proposed Order attached hereto.

       First, as the Defense asserted during the hearing on December 7, 2021, the discovery

Defendant intends to seek is directed both toward the motions to dismiss that the Defendant

anticipates filing and to defenses at trial. (12/7/2021 Tr. at 24-34). The Defense has made this

position clear to the Government. However, the Government takes a different position. The

Government has consistently contended that any motion to compel discovery should be filed at the

same time as motions to dismiss the indictment. See Joint Status Report (Doc. 18). We disagree.
          Case 1:21-cr-00670-CJN Document 22 Filed 12/16/21 Page 2 of 4




       The alternative the Defendant proposes, as reflected in the attached Proposed Order, is to

set a deadline for any motion to compel discovery on or before February 15, 2022. This would

allow time for discovery issues to be litigated first. Then, once we have guidance on what discovery

will be available, motions to dismiss can follow in due course.

       That brings us to the second point of disagreement. The Government proposes a deadline

of March 1, 2022, motions to dismiss. We think an additional month is prudent, given the complex

issues involved. An April 1, 2022, deadline gives all Parties a better chance that discovery disputes

can be resolved. It also allows needed time to develop the facts for what will likely be motions on

Constitutional issues of first impression. The Defendant’s proposed pre-trial schedule provides for

motions to dismiss to be filed by April 1, 2021, with the motions to be fully briefed by both parties

two full months before trial. The Defendant must be given the opportunity to fully develop the

record on his motions to dismiss, some of which raise historically important constitutional issues.

        Both Parties indicated to each other preferred dates based on attorney commitments and

religious observance. But we understand that the timing of motions practice cannot be decided

purely on the availability of counsel. Rather, the key consideration should be when there will be

an adequate factual record upon which to decide the motions.

       Based on the interactions to date, we anticipate that the Government will not agree to all

Defense discovery requests. If this proves true, then the Defense will move this Court for an order

compelling discovery. Motions to dismiss the indictment should be scheduled at a time that takes

into consideration this likely scenario. The governing rule requires only that such motions be filed

before trial. See Fed. R. Crim. P. 12(b)(3). The Defendant’s proposed pre-trial schedule would

have such motions filed and fully briefed months before trial.




                                                 2
         Case 1:21-cr-00670-CJN Document 22 Filed 12/16/21 Page 3 of 4




       With respect to the Government’s motion to exclude time under The Speedy Trial Act, the

Defendant certainly agrees that the time frame set out in the attached proposed schedule

appropriately should be excluded from Speedy Trial clock and defers to the Court as to the

applicable bases for such exclusion. The Defendant certainly agrees that such time is excludable

under 18 U.S.C. §§ 3161(h)(1)(D) and (h)(7)(A) and that the ends of justice support the same.

Dated: December 16, 2021                    Respectfully submitted,

                                            SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                               /s/ M. Evan Corcoran
                                            M. Evan Corcoran (D.C. Bar No. 440027)
                                            210 N. Charles Street, 26th Floor
                                            Baltimore, MD 21201
                                            Telephone: (410) 385-2225
                                            Facsimile: (410) 547-2432
                                            Email: ecorcoran@silvermanthompson.com


                                               /s/ David I. Schoen
                                            David I. Schoen (D.C. Bar No. 391408)
                                            David I. Schoen, Attorney at Law
                                            2800 Zelda Road, Suite 100-6
                                            Montgomery, Alabama 36106
                                            Telephone: (334) 395-6611
                                            Facsimile: (917) 591-7586
                                            Email: schoenlawfirm@gmail.com

                                               /s/ Robert J. Costello
                                            Robert J. Costello (pro hac vice)
                                            Davidoff Hutcher & Citron LLP
                                            605 Third Avenue
                                            New York, New York 10158
                                            Telephone: (212) 557-7200
                                            Facsimile: (212) 286-1884
                                            Email: rjc@dhclegal.com


                                            Counsel for Defendant Stephen K. Bannon




                                               3
         Case 1:21-cr-00670-CJN Document 22 Filed 12/16/21 Page 4 of 4




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 16th day of December 2021, a copy of the foregoing

DEFENDANT’S POSITION ON PRE-TRIAL SCHEDULING was served via the Court’s

CM/ECF system on all properly registered parties and counsel.


                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)




                                              4
